     Case1:03-md-01570-GBD-SN
     Case 1:17-cv-02003-GBD-SN Document
                               Document 197-1
                                        75017 Filed
                                               Filed08/03/20
                                                     08/28/19 Page
                                                              Page11of
                                                                     of72



                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

IN RE: TERRORIST ATTACKS ON          :
SEPTEMBER 11, 2001                   :                03-MDL-1570 (GBD)(SN)
____________________________________

This Document Relates To:
Kristen Breitweiser, Individually as Spouse and as Personal Representative of the Estate of
Ronald Breitweiser, deceased; and Caroline Breitweiser, Individually as Surviving Child of
Ronald Breitweiser, deceased only in the cases of Ashton, et al. v. al Qaeda Islamic Army, et al.,
Case No. 02-cv-6977 (GBD)(SN) (and member case Burlingame v. Bin Laden, et al., Case No.
02-cv-7230); and Ashton, et al. v. Kingdom of Saudi Arabia, Case No.: 17-cv-02003 (GBD)
(SN)


                   UNOPPOSED MOTION TO SUBSTITUTE COUNSEL

       COME NOW, Kristen Breitweiser, Individually as Spouse and as Personal Representative

of the Estate of Ronald Breitweiser, deceased; and Caroline Breitweiser, Individually as Surviving

Child of Ronald Breitweiser, deceased (“the Breitweiser Plaintiffs”) Plaintiffs in Ashton, et al. v.

al Qaeda Islamic Army, et al., Case No. 02-cv-6977 (GBD)(SN) (and member case Burlingame v.

Bin Laden, et al., Case No. 02-cv-7230); and Ashton, et al. v. Kingdom of Saudi Arabia, Case No.

17-cv-02003 (GBD)(SN), and bring this Unopposed Motion to Substitute Counsel. As grounds

for said Motion, the Breitweiser Plaintiffs state as follows:

       1.       The Breitweiser Plaintiffs request the Court to grant permission for Frank H.

Granito, III of Speiser Krause, PC to withdraw and to substitute Dennis G. Pantazis as attorney of

record as to the Breitweiser Plaintiffs only.

       2.      The Breitweiser Plaintiffs have retained Dennis G. Pantazis of Wiggins Childs

Pantazis Fisher Goldfarb LLC to represent them in this matter.

       3.      The Breitweiser Plaintiffs, Frank H. Granito, III, and Dennis G. Pantazis consent to

the substitution of counsel as requested herein (signed Consents attached hereto as Exhibit A).
     Case1:03-md-01570-GBD-SN
     Case 1:17-cv-02003-GBD-SN Document
                               Document 197-1
                                        75017 Filed
                                               Filed08/03/20
                                                     08/28/19 Page
                                                              Page22of
                                                                     of72



       4.      The parties anticipate after substitution of counsel is granted they will move the

Court to separate the Breitweiser Plaintiffs into a separate case.

       WHEREFORE, PREMISES CONSIDERED, Kristen Breitweiser, individually as

spouse and as Personal Representative of the Estate of Ronald Breitweiser, deceased; and Caroline

Breitweiser, individually as surviving child of Ronald Breitweiser, deceased, pray that this

Honorable Court enter an Order allowing Frank H. Granito, III of Speiser Krause, PC to withdraw

from representing the Breitweiser Plaintiffs and to substitute Dennis G. Pantazis of Wiggins Childs

Pantazis Fisher Goldfarb LLC as attorney of record for the Breitweiser Plaintiffs only in Ashton,

et al. v. al Qaeda Islamic Army, et al., Case No. 02-cv-6977 (GBD)(SN) (and member case

Burlingame v. Bin Laden, et al., Case No. 02-cv-7230); and Ashton, et al. v. Kingdom of Saudi

Arabia, Case No.: 17-cv-02003 (GBD)(SN).

                                              RESPECTFULLY SUBMITTED,

                                              /s/ Dennis G. Pantazis
                                              Dennis G. Pantazis


OF COUNSEL:
WIGGINS CHILDS PANTAZIS
FISHER GOLDFARB LLC
The Kress Building
301 Nineteenth Street North
Birmingham, Alabama 35203
Telephone: (205) 314-0531
Facsimile: (205) 314-0731
Email: dgp@wigginschilds.com
 Case1:03-md-01570-GBD-SN
Case   1:17-cv-02003-GBD-SN Document
                             Document75017-1
                                      197-1 Filed
                                              Filed08/03/20
                                                    08/28/19 Page
                                                              Page3 1ofof7 5




                      EXHIBIT A
 Case1:03-md-01570-GBD-SN
Case   1:17-cv-02003-GBD-SN Document
                             Document75017-1
                                      197-1 Filed
                                              Filed08/03/20
                                                    08/28/19 Page
                                                              Page4 2ofof7 5
 Case1:03-md-01570-GBD-SN
Case   1:17-cv-02003-GBD-SN Document
                             Document75017-1
                                      197-1 Filed
                                              Filed08/03/20
                                                    08/28/19 Page
                                                              Page5 3ofof7 5
 Case1:03-md-01570-GBD-SN
Case   1:17-cv-02003-GBD-SN Document
                             Document75017-1
                                      197-1 Filed
                                              Filed08/03/20
                                                    08/28/19 Page
                                                              Page6 4ofof7 5
 Case1:03-md-01570-GBD-SN
Case   1:17-cv-02003-GBD-SN Document
                             Document75017-1
                                      197-1 Filed
                                              Filed08/03/20
                                                    08/28/19 Page
                                                              Page7 5ofof7 5
